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 1
                                 UNITED STATES DISTRICT COURT
 2                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 3

 4
        UNITED STATES OF AMERICA,
 5                                                           CASE NO. CR13-5568BHS
                                Plaintiff,

 6                                                           ORDER
                 v.

 7      PETER GIBNEY and ELAINE GIBNEY,

 8                              Defendants.

 9          This matter comes before the Court on Defendant Peter Gibney’s unopposed motion to

10 continue the trial date. The Court, having considered the unopposed motion, the affidavit of

11 defense counsel Linda Sullivan in support of the motion, Defendant Elaine Gibney’s joinder in

12 the motion and the Defendants’ speedy trial waivers, makes the following findings of fact and

13 conclusions of law:
            1. The defense needs additional time to receive and review discovery, some of which is
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     voluminous, to perform its own independent investigation and to conduct legal research prior to
15
     filing pretrial motions and preparing for trial.
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            2. The defense needs additional time to explore all relevant issues and defenses
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     applicable to the case, which would make it unreasonable to expect adequate preparation for
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     pretrial proceedings or for trial itself within the time limits established by the Speedy Trial Act
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     and currently set for this case. 18 U.S.C. § 3161(h)(7)(B)(ii).
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            3. Taking into account the exercise of due diligence, a continuance is necessary to allow
21 the defendant the reasonable time for effective preparation his defense, to explore resolution of

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 1 this case before trial and to substantially ensure continuity of defense counsel. 18 U.S.C. §

 2 3161(h)(7)(B)(iv).

 3          4. Proceeding to trial absent adequate time for the defense to prepare would result in a

     miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
 4
            5. The ends of justice served by granting this continuance outweigh the best interests of
 5
     the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) and (B).
 6
            6. Defendant Peter Gibney waived speedy trial through March 14, 2014. Defendant
 7
     Elaine Gibney waived speedy trial through April 30, 2014.
 8
            NOW, THEREFORE, IT IS HEREBY ORDERED
 9
            That the trial date is continued from December 3, 2013, to February 25, 2014, at 9:00
10 a.m. Pretrial Conference is set for February 24, 2014, at 9:00 a.m. Pretrial Motions are due by

11 January 15, 2014. The resulting period of delay from November 14, 2013, to February 25, 2014,

12 is hereby excluded for speedy trial purposes under 18 U.S.C. § 3161(h)(7)(A) and (B).

13          Dated this 21st day of November, 2013.

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                                                 ABENJAMIN H. SETTLE
                                                  United States District Judge

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